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 9                        IN THE UNITED STATES DISTRICT COURT
10                             FOR THE DISTRICT OF ARIZONA
11
12   United States of America,                                CR 18-1013-CKJ-DTF
13                                                  THE GOVERNMENT’S RESPONSE TO
        Plaintiff,                                  THE DEFENDANT’S OBJECTION TO
14                                                         THE REPORT AND
       vs.                                             RECOMMENDATION ON THE
15                                                      DEFENDANT’S MOTION TO
     Matthew Bowen,                                    SUPPRESS TEXT MESSAGES
16                                                             (Doc. 62)
17      Defendant.
18
19           The United States of America, by and through its undersigned attorneys, files this
20   response to the defendant’s objection to the magistrate judge’s recommendation that the
21   defendant’s motion to suppress be partially denied. (Doc. 62). The magistrate judge
22   correctly concluded that the seized text messages sent after the date of the crime
23   “pertain[ed] in any way” to the civil rights crime. As such, those text messages were
24   appropriately seized under the search warrant authorized by the issuing magistrate judge.
25           As detailed in the affidavit supporting probable cause for the search warrant, the
26   government learned through its investigation that the defendant was using his cellular
27   phone to communicate about the crime and one agent with whom he communicated had
28   deleted those communications, which were potential evidence in the investigation. Those
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 1   facts along with the facts about cellular phone technology, also summarized in the affidavit,
 2   provided a fair probability that based on the totality of the circumstances, evidence of the
 3   civil rights crime would be found on the defendant’s phone. Illinois v. Gates, 462 U.S. 213,
 4   238 (1983) (probable cause exists when there is a fair probability based on the totality of
 5   the circumstances that contraband or evidence is located in a particular place.) Probable
 6   cause does not require the affidavit to establish that the evidence is in fact in the place to
 7   be searched, or even that it is more likely than not to be there. United States v. Fernandez,
 8   388 F.3d 1199, 1254 (9th Cir. 2004), modified 425 F.3d 1248 (9th Cir. 2005). Rather, the
 9   issuing judge “need only conclude that it would be reasonable to seek the evidence in the
10   place indicated in the affidavit.” Id.
11          In his motion to suppress and subsequent objection to the report and
12   recommendation, the defendant seeks to impose a higher standard on the authorization of
13   the search warrant. The defendant attempts to limit the search warrant to the seizure of
14   evidence on a particular day, when no date limit was authorized. To make this argument,
15   the defendant implies more evidence in the affidavit was necessary to seize text messages
16   prior to or after the date of the crime. This is not correct. Probable cause is the standard.
17   And, that standard was more than satisfied. The affidavit summarized the facts that led the
18   government to believe evidence of the specific civil rights crime would be found on the
19   defendant’s cellular phone. The issuing magistrate judge correctly found probable cause
20   and authorized the agents to seize the items identified in Attachment B of the warrant. That
21   decision by the issuing magistrate judge is entitled to great deference. United States v.
22   Reeves, 210 F.3d 1041, 1046 (9th Cir. 2000).
23          Of note, if this Court were to find that Attachment B was overly broad, the good
24   faith exception would apply, and, thus, the text messages should not be suppressed. See
25   United States v. Leon, 468 U.S. 897, 922 (1984). The magistrate judge did not address this
26   issue in the report and recommendation since the court found that the warrant was not
27   overly broad in authorizing the seizure of text messages after the date of the crime.
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 1          As a final note, the defendant’s citation to Riley and CDT for the proposition that
 2   searching cellular phones requires a balance of the government’s interest in law
 3   enforcement and the right of individuals to be free from unreasonable searches and seizures
 4   is a proposition in every case in which the government searches a place in which a person
 5   has a privacy interest. Riley generally requires that the government obtain a search warrant
 6   prior to searching a cellular phone. Riley v. California, 573 U.S. 373, 386, 401 (2014)
 7   (invalidating a search of a defendant’s phone incident to arrest). Obtaining a search warrant
 8   is exactly what the government did in this case. United States v. Ventresca, 380 U.S. 102,
 9   106 (1965) (acknowledging the strong preference to be accorded searches under a warrant).
10          It was reasonable for the government to seek and the issuing magistrate judge to
11   authorize a search of the defendant’s phone for the text messages pertaining to the specific
12   crime. For all the reasons stated above and in the government’s prior briefing on this issue,
13   the defendant’s motion to suppress the text messages should be denied in full.
14          Respectfully submitted this 14th day of May, 2019.
15                                             MICHAEL BAILEY
                                               United States Attorney
16                                             District of Arizona
17                                             s/ Lori L. Price
                                               s/Monica E. Ryan
18
                                               LORI L. PRICE
19                                             MONICA E. RYAN
                                               Assistant U.S. Attorneys
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21   Copy of the foregoing served electronically or by
     other means this 14th day of May, 2019, to:
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     Sean Chapman, Esq. – Attorney for the Defendant
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